     Case 2:18-bk-10047-WB          Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01           Desc
                                     Main Document    Page 1 of 61


 1   ZIEVE, BRODNAX & STEELE, LLP
     Erin M. McCartney, Bar No. 308803
 2   Mark S. Krause, Bar No. 302732
     30 Corporate Park, Suite 450
 3   Irvine, CA 92606
     Telephone: (714) 848-7920
 4   Fax: (714) 908-2615
 5   Attorneys for Secured Creditor, Bank of America, N.A.
 6

 7

 8

 9
                              UNITED STATES BANKRUPTCY COURT
10
                               CENTRAL DISTRICT OF CALIFORNIA
11
                                       LOS ANGELES DIVISION
12

13

14   In re:                                          CASE NO.: 2:18-bk-10047-WB

15   RODNEY M. VAN PELT,                             Chapter 13

16                  Debtor,                          OPPOSITION TO DEBTOR’S
                                                     MOTION FOR ORDER IMPOSING
17                                                   A STAY OR CONTINUNING THE
                                                     AUTOMATIC STAY
18
                                                     Hearing:
19                                                   Date: January 16, 2018
                                                     Time: 10:00 a.m.
20                                                   Place: United States Bankruptcy Court
                                                            255 East Temple Street
21                                                          Los Angeles, CA 90012
                                                            Courtroom 1375
22

23

24
              Bank of America, N.A. (“Secured Creditor”) respectfully submits the following
25
     opposition to the above entitled debtor, Rodney M. Van Pelt’s (“Debtor”) Motion for Order
26
     Imposing a Stay or Continuing the Automatic Stay (“Motion”). This Opposition is supported
27
     by the points and authorities cited herein, and the record currently before the Court.
28

                                                      1
     Case 2:18-bk-10047-WB         Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01                Desc
                                    Main Document    Page 2 of 61


 1
                                  I.     STATEMENT OF FACTS
 2
             1.     Debtor filed the instant Bankruptcy action as a Chapter 13 Petition on January 3,
 3
     2018.
 4
             2.     This Secured Creditor holds the First Trust Deed on Debtor’s property generally
 5
     described as 3126 Silva Street, Lakewood, CA 90712 (the “Subject Real Property”). A true and
 6
     correct copy of the Deed of Trust is attached as Exhibit “1”.
 7
             3.     According to Secured Creditor’s records, the Debtor has not made a payment on
 8
     the loan since November 23, 2015. As of January 10, 2018, the Debtor is in default in the
 9
     approximate amount of $61,681.43.
10
             4.     Due to a default on the loan, the Secured Creditor recorded a Notice of Default on
11
     February 9, 2017. A true and correct copy of the Notice of Default is attached as Exhibit “2”.
12
             5.     A Notice of Sale was recorded on May 26, 2017 and a sale was scheduled for
13
     June 22, 2017. A true and correct copy of the Notice of Sale is attached as Exhibit “3”.
14
             6.     The Secured Creditor postponed the foreclosure sale to review loss mitigation
15
     options with the Debtor. The sale was first postponed to July 24, 2017 and subsequently
16
     postponed to September 25, 2017.
17
             7.     Before the postponed foreclosure sale scheduled for September 18, 2017, Counsel
18
     for the Debtor transmitted a drafted complaint alleging violations of the California Homeowner’s
19
     Bill of Rights. A true and correct copy of the Notice and Complaint is attached as Exhibit “4”.
20
             8.     On the day of the scheduled foreclosure sale, the Debtor filed the first bankruptcy
21
     proceeding within the past one year. On September 25, 2017, the Debtor filed a Chapter 13 case
22
     under case number 2:17-bk-21718. The case was dismissed for Debtor’s failure to file
23
     information on October 19, 2017. A true and correct copy of the case docket is attached as
24
     Exhibit “5”. Due to this bankruptcy proceeding, the Secured Creditor postponed the foreclosure
25
     sale.
26
             9.     The second bankruptcy, case number 2:17-bk-24442-VZ, was filed as a Chapter
27
     13 by Debtor on November 22, 2017, five (5) days before the scheduled foreclosure sale was set
28

                                                     2
     Case 2:18-bk-10047-WB          Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01                   Desc
                                     Main Document    Page 3 of 61


 1
     on November 27, 2017. The case was dismissed for Debtor’s failure to file information on or
 2
     about December 11, 2017. A true and correct copy of the case docket is attached hereto as
 3
     Exhibit “6”.
 4
             10.     This is the third bankruptcy case filed by the Debtor pending within the past year.
 5
     This third case was yet again filed to stop the Secured Creditor’s right to foreclose on the subject
 6
     property.
 7
             11.     Since this is the Debtor’s third bankruptcy petition within one year, pursuant to 11
 8
     U.S.C. §362(c)(4), Debtor is not entitled to a stay upon the filing of the instant Bankruptcy.
 9
     Furthermore, pursuant to 11 U.S.C. §362(c)(4)(D), the instant Bankruptcy case is presumptively
10
     filed not in good faith.
11
             12.     However, despite this fact, the Debtor has filed the instant Motion, seeking the re-
12
     imposition of the automatic stay.
13
             13.     For the reasons discussed herein, Secured Creditor respectfully request that the
14
     Court deny Debtor’s Motion.
15
                                          II.    ARGUMENT
16
             The Automatic Stay is not in effect by operation of law upon the commencement of this
17
     case on January 3, 2018. Pursuant to 11 U.S.C. §362(c)(4)(A)(i), in a case filed by an individual
18
     who had two (2) or more Bankruptcy cases pending within the previous year but were dismissed,
19
     other than a case refiled under a chapter other than a Chapter 7 after dismissal under section
20
     707(b), the stay under subsection (a) shall not go into effect upon the filing of the later case.
21
     Furthermore, in order to rebut the presumption of bad faith in the instant bankruptcy filing,
22
     Debtor must present “clear and convincing evidence, to the contrary. 11 U.S.C. §362(c)(3). In
23
     addition, Secured Creditor believes that the multiple bankruptcies are being filed in bad faith and
24
     for the sole purpose of thwarting Secured Creditor’s foreclosure proceedings. Secured Creditor
25
     has postpone the foreclosure sale due to the bankruptcy filings.
26
             The instant Motion fails to present “clear and convincing evidence” to rebut the
27
     presumption of bad faith. The Debtor voluntarily filed two pro se Chapter 13 cases. The Debtor
28

                                                      3
     Case 2:18-bk-10047-WB         Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01                Desc
                                    Main Document    Page 4 of 61


 1
     was fully aware of the requirements once the case was filed but failed to comply and timely file
 2
     his Schedules or Chapter 13 plan. The Debtor now states that the stay should be imposed in this
 3
     third proceeding since he has an attorney representing him and he has the financial ability to
 4
     afford reorganization. However, unfortunately for the Debtor, the Motion lacks specificity and
 5
     merely recites conclusions unsupported by evidence. There is neither a true showing of changed
 6
     circumstances nor a likelihood of success.
 7
            The Debtor claims that he was unable to obtain representation in the prior cases, over a
 8
     span of four (4) months, due to his physical disabilities. He also states that he is currently
 9
     incarcerated. It is not clear if the Debtor was also incarcerated during the pendency of the prior
10
     bankruptcy proceedings but the Debtor’s current counsel was working on his behalf during that
11
     time period and served a drafted complaint on counsel for the Secured Creditor to stop a
12
     previously scheduled foreclosure sale. Now, the Debtor appears to be arguing that his failure to
13
     comply and file the required documents in the prior two cases was due to the fact that he was not
14
     represented. However, the Debtor was clearly aware of the requirements in the prior cases and
15
     was working with his attorney during that time.
16
              The Debtor failed to provide sufficient evidence of a change in his financial situation.
17
     The Motion alleges that the instant Bankruptcy was filed in order to repay all of the unsecured
18
     debts, as well as, make payments to the Secured Creditor. The Debtor filed schedules but failed
19
     to file a Chapter 13 plan. Based on the Schedules, the Debtor does not appear capable of
20
     demonstrating to the Court that he has an ability to fund a feasible plan. In order to obtain
21
     confirmation a Chapter 13, Debtor must demonstrate to the court that the plan as proposed is
22
     feasible, meaning the Debtor has not only the present ability but the future ability to comply with
23
     the proposed plan. In re Hockaday, 3 B.R. 254, 255 (Bankr. S.D. Cal. 1980). In order to be
24
     satisfied this important element is met, a thorough review of the Debtor’s financial picture is
25
     required. Id.
26
            In the instant case, the Debtor failed to propose a Chapter 13 plan or provide any
27
     evidence to support the listed income. As of January 10, 2018, the amount in default was
28

                                                       4
     Case 2:18-bk-10047-WB          Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01                Desc
                                     Main Document    Page 5 of 61


 1
     approximately $61,681.43. The last payment received on the loan dates back to November 2015.
 2
     Since that time, the Secured Creditor has been forced to advance funds for payment of property
 3
     taxes and insurance for the Subject Real Property.
 4
            The Debtor’s Schedules reflect his income as Social Security and proceeds from an
 5
     Annuity in the total amount of $1,588.80. In addition to the Debtor’s income, the Debtor’s
 6
     spouse reports self-employment income in the amount of $3,948.00. Debtor’s Schedule “I”
 7
     indicates that the average monthly income is $5,536.80. Schedule “J” indicates that Debtor’s
 8
     average monthly expenses are $3,354.00 with very minimal expenses listed. True and correct
 9
     copies of the Debtor’s Schedules “I” and “J” are attached as Exhibit “7” and “8”. The Debtor’s
10
     Schedule “J” reflects a very stringent budget for anything beyond scheduled expenses and
11
     therefore places the Debtor at a high risk of default.
12
            Under these facts it is highly unlikely that Debtor will be able to propose an effective
13
     reorganization within a reasonable amount of time, especially when there is no evidence of any
14
     substantial change or improvement in the Debtor’s financial condition. The Debtor is relying on
15
     his non-filing spouse’s self-employment income to fund the ongoing mortgage payments and the
16
     Chapter 13 plan payments. Debtor has failed to show through clear and convincing evidence that
17
     the presumption of bad faith has been overcome. Debtor’s Declaration lacks specificity and is
18
     merely a recitation of conclusions unsupported by the evidence. There is neither a true showing
19
     of changed circumstances nor a greater likelihood of success in this case than in the prior cases.
20
            Based on the foregoing, Secured Creditor asks that the instant Motion be denied entirely
21
     or denied as to Secured Creditor’s collateral only. However, if the Court is nevertheless inclined
22
     to grant the instant Motion, Secured Creditor requests that any order imposing the stay provide
23
     for adequate protection of Secured Creditor’s interest in its collateral by requiring maintenance
24
     of real estate taxes and insurance and regular monthly note payments to the Secured Creditor.
25
     ///
26
     ///
27
     ///
28

                                                       5
     Case 2:18-bk-10047-WB        Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                   Main Document    Page 6 of 61


 1
            WHEREFORE, Secured Creditor prays as follows:
 2
            1.     That the Debtor’s Motion be denied.
 3
            2.     For such other relief as this Court deems proper.
 4

 5   Dated: January 12, 2018                 ZIEVE, BRODNAX & STEELE, LLP
 6

 7                                           By: /s/ Erin M. McCartney
                                                Erin M. McCartney, Esq.
 8                                              Mark S. Krause, Esq.
                                                Attorneys for Secured Creditor,
 9                                              Bank of America, N.A.
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28

                                                    6
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                      Main Document    Page 7 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 1 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                      Main Document    Page 8 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 2 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                      Main Document    Page 9 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 3 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 10 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 4 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 11 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 5 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 12 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 6 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 13 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 7 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 14 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 8 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 15 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 9 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 16 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 10 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 17 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 11 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 18 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 12 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 19 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 13 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 20 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 14 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 21 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 15 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 22 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 16 of 18
Order: j Comment:                           EXHIBIT "1"
          Case 2:18-bk-10047-WB      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                                     Main Document    Page 23 of 61




Description: Los Angeles,CA Document - Year.DocID 2007.2739514 Page: 18 of 18
Order: j Comment:                           EXHIBIT "1"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 24 of 61




                             EXHIBIT "2"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 25 of 61




                             EXHIBIT "2"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 26 of 61




                             EXHIBIT "2"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 27 of 61




                             EXHIBIT "2"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 28 of 61




                             EXHIBIT "2"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 29 of 61




                             EXHIBIT "3"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 30 of 61




                             EXHIBIT "3"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 31 of 61




                             EXHIBIT "3"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 32 of 61




                              EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 33 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 34 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 35 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 36 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 37 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 38 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 39 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 40 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 41 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 42 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 43 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 44 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 45 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 46 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 47 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 48 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 49 of 61




                             EXHIBIT "4"
Case 2:18-bk-10047-WB   Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01   Desc
                        Main Document    Page 50 of 61




                             EXHIBIT "4"
2:17-bk-21718 | Rodney M Van Pelt |                                     Page 1 of 3
   Case 2:18-bk-10047-WB Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01 Desc
                              Main Document Page 51 of 61

                         2:17-bk-21718 | Rodney M Van Pelt

                                                      Docket Header Last Updated: 01/05/2018 10:00 am
                                              CLOSED, PlnDue, Repeat-cacb, Incomplete, RepeatPACER, DISMISSED
                                             U.S. Bankruptcy Court
                                 Central District of California (Los Angeles)
                                 Bankruptcy Petition #: 2:17-bk-21718-SK

                                                                               Date filed:   09/25/2017
  Assigned to: Sandra R. Klein
  Chapter 13                                                            Date terminated:     11/07/2017

  Voluntary
                                                                       Debtor dismissed:     10/19/2017
  Asset
  Debtor disposition: Dismissed for Failure to File                         341 meeting:     11/03/2017

  Information



  Debtor                                                     represented by    Rodney M Van Pelt
  Rodney M Van Pelt                                                            PRO SE
  3126 Silva St
  Lakewood, CA 90712
  LOS ANGELES-CA
  SSN / ITIN: xxx-xx-7990



  Trustee
  Kathy A Dockery (TR)
  801 Figueroa Street, Suite 1850
  Los Angeles, CA 90017
  (213) 996-4400



  U.S. Trustee
  United States Trustee (LA)
  915 Wilshire Blvd, Suite 1850
  Los Angeles, CA 90017
  (213) 894-6811




 Date Filed        #        Docket Text

 09/25/2017         1       Chapter 13 Voluntary Petition Individual . Fee Amount $310 Filed by Rodney M Van Pelt
                            Summary of Assets and Liabilities (Form 106Sum or 206Sum ) due 10/10/2017 . Schedule
                            A/B: Property (Form 106A/B or 206A/B) due 10/10/2017 . Schedule C: The Property You




                                               EXHIBIT "5"
https://app.courtdrive.com/filings/cacbke_1802680-2-17-bk-21718-rodney-m-van-pelt                         1/11/2018
2:17-bk-21718 | Rodney M Van Pelt |                                     Page 2 of 3
   Case 2:18-bk-10047-WB Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01 Desc
                              Main Document Page 52 of 61


 Date Filed     #      Docket Text

                       Claim as Exempt (Form 106C) due 10/10/2017 . Schedule D: Creditors Who Have Claims
                       Secured by Property (Form 106D or 206D) due 10/10/2017 . Schedule E/F: Creditors Who
                       Have Unsecured Claims (Form 106E/F or 206E/F) due 10/10/2017 . Schedule G:
                       Executory Contracts and Unexpired Leases (Form 106G or 206G) due 10/10/2017 .
                       Schedule H: Your Codebtors (Form 106H or 206H) due 10/10/2017 . Schedule I: Your
                       Income (Form 106I) due 10/10/2017 . Schedule J: Your Expenses (Form 106J) due
                       10/10/2017 . Declaration About an Individual Debtors Schedules (Form 106Dec) due
                       10/10/2017 . Statement of Financial Affairs (Form 107 or 207) due 10/10/2017 . Chapter
                       13 Plan (LBR F3015-1) due by 10/10/2017 . Chapter 13 Statement of Your Current
                       Monthly Income and Calculation of Commitment Period (Form 122C-1) Due: 10/10/2017 .
                       Chapter 13 Calculation of Your Disposable Income (Form 122C-2) Due: 10/10/2017 .
                       Statement of Related Cases (LBR Form F1015-2) due 10/10/2017 . Declaration by Debtors
                       as to Whether Income was Received from an Employer within 60-Days of the Petition Date
                       (LBR Form F1002-1) due by 10/10/2017 . Incomplete Filings due by 10/10/2017 . (Tang,
                       Diana) (Entered: 09/25/2017)


 09/25/2017      2     Meeting of Creditors with 341(a) meeting to be held on 11/03/2017 at 09:00 AM at RM 1,
                       915 Wilshire Blvd., 10th Floor, , Los Angeles, CA 90017. Confirmation hearing to be held
                       on 12/14/2017 at 10:00 AM at Crtrm 1575, 255 E Temple St., Los Angeles, CA 90012.
                       Proof of Claim due by 02/01/2018 . (Tang, Diana) (Entered: 09/25/2017)


 09/25/2017      3     Statement About Your Social Security Number (Official Form 121) Filed by Debtor Rodney
                       M Van Pelt . (Tang, Diana) (Entered: 09/25/2017)


 09/25/2017      4     Certificate of Credit Counseling Filed by Debtor Rodney M Van Pelt . (Tang, Diana)
                       (Entered: 09/25/2017)


 09/25/2017            Receipt of Chapter 13 Filing Fee - $310.00 by 01. Receipt Number 20222008. (admin)
                       (Entered: 09/25/2017)


 09/26/2017            Notice of Debtor's Prior Filings for debtor Rodney M Van Pelt Case Number 14-10004,
                       Chapter 13 filed in California Central Bankruptcy on 01/01/2014 , Dismissed for Other
                       Reason on 05/27/2014.(Admin) (Entered: 09/26/2017)


 09/26/2017      5     Request for courtesy Notice of Electronic Filing (NEF) Filed by Smith, Valerie. (Smith,
                       Valerie) (Entered: 09/26/2017)


 09/27/2017      6     BNC Certificate of Notice (RE: related document(s) 2 Meeting (AutoAssign Chapter 13))
                       No. of Notices: 5. Notice Date 09/27/2017. (Admin.) (Entered: 09/27/2017)




 09/27/2017      7




                                          EXHIBIT "5"
https://app.courtdrive.com/filings/cacbke_1802680-2-17-bk-21718-rodney-m-van-pelt                        1/11/2018
2:17-bk-21718 | Rodney M Van Pelt |                                     Page 3 of 3
   Case 2:18-bk-10047-WB Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01 Desc
                              Main Document Page 53 of 61


 Date Filed     #      Docket Text

                       BNC Certificate of Notice (RE: related document(s) 1 Voluntary Petition (Chapter 13) filed
                       by Debtor Rodney M Van Pelt) No. of Notices: 1. Notice Date 09/27/2017. (Admin.)
                       (Entered: 09/27/2017)


 09/27/2017      8     BNC Certificate of Notice (RE: related document(s) 1 Voluntary Petition (Chapter 13) filed
                       by Debtor Rodney M Van Pelt) No. of Notices: 1. Notice Date 09/27/2017. (Admin.)
                       (Entered: 09/27/2017)


 10/18/2017      9     Notice of Hearing Filed by. (Dockery (TR), Kathy) (Entered: 10/18/2017)


 10/19/2017     10     ORDER and notice of dismissal for failure to file schedules, statements, and/or plan -
                       Debtor Dismissed. (BNC) Signed on 10/19/2017 (RE: related document(s) 1 Voluntary
                       Petition (Chapter 13) filed by Debtor Rodney M Van Pelt, 2 Meeting (AutoAssign Chapter
                       13)). (Milano, Sonny) (Entered: 10/19/2017)


 10/21/2017     11     BNC Certificate of Notice (RE: related document(s) 10 ORDER and notice of dismissal for
                       failure to file schedules, statements, and/or plan (Option A or Option B) (BNC)) No. of
                       Notices: 4. Notice Date 10/21/2017. (Admin.) (Entered: 10/21/2017)


 11/03/2017     12     Chapter 13 Trustee's Final Report and Account . (Dockery (TR), Kathy) (Entered:
                       11/03/2017)


 11/03/2017     13     Proof of service Filed by (RE: related document(s) 12 Chapter 13 Trustee's Final Report
                       and Account (batch)). (Dockery (TR), Kathy) (Entered: 11/03/2017)


 11/07/2017     14     Bankruptcy Case Closed - DISMISSED. An Order dismissing this case was entered and
                       notice was provided to parties in interest. Since it appears that no further matters are
                       required and that this case remain open, or that the jurisdiction of this Court continue, it
                       is ordered that the Trustee is discharged, bond is exonerated, and the case is closed. (RE:
                       related document(s) 2 Meeting (AutoAssign Chapter 13)) (Ly, Lynn) (Entered:
                       11/07/2017)




                                          EXHIBIT "5"
https://app.courtdrive.com/filings/cacbke_1802680-2-17-bk-21718-rodney-m-van-pelt                         1/11/2018
2:17-bk-24442 | Rodney M Van Pelt |                                     Page 1 of 3
   Case 2:18-bk-10047-WB Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01 Desc
                              Main Document Page 54 of 61

                         2:17-bk-24442 | Rodney M Van Pelt

                                                      Docket Header Last Updated: 12/18/2017 09:18 am
                                                       Repeat-cacb, PlnDue, Incomplete, RepeatPACER, DISMISSED
                                             U.S. Bankruptcy Court
                               Central District of California (Los Angeles)
                               Bankruptcy Petition #: 2:17-bk-24442-VZ

                                                                               Date filed:   11/22/2017
  Assigned to: Vincent P. Zurzolo
  Chapter 13                                                           Debtor dismissed:     12/11/2017

  Voluntary
                                                                            341 meeting:     12/28/2017
  Asset
  Debtor disposition: Dismissed for Failure to File
  Information



  Debtor                                                     represented by    Rodney M Van Pelt
  Rodney M Van Pelt                                                            PRO SE
  3126 Silva St
  Lakewood, CA 90712
  LOS ANGELES-CA
  SSN / ITIN: xxx-xx-7990



  Trustee
  Nancy K Curry (TR)
  1000 Wilshire Blvd., Suite 870
  Los Angeles, CA 90017
  213-689-3014



  U.S. Trustee
  United States Trustee (LA)
  915 Wilshire Blvd, Suite 1850
  Los Angeles, CA 90017
  (213) 894-6811




 Date Filed        #        Docket Text

 11/22/2017         1       Chapter 13 Voluntary Petition Individual . Fee Amount $310 Filed by Rodney M Van Pelt
                            Summary of Assets and Liabilities (Form 106Sum or 206Sum ) due 12/6/2017 . Schedule
                            A/B: Property (Form 106A/B or 206A/B) due 12/6/2017 . Schedule C: The Property You




                                               EXHIBIT "6"
https://app.courtdrive.com/filings/cacbke_1809159-2-17-bk-24442-rodney-m-van-pelt                         1/11/2018
2:17-bk-24442 | Rodney M Van Pelt |                                     Page 2 of 3
   Case 2:18-bk-10047-WB Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01 Desc
                              Main Document Page 55 of 61


 Date Filed     #      Docket Text

                       Claim as Exempt (Form 106C) due 12/6/2017 . Schedule D: Creditors Who Have Claims
                       Secured by Property (Form 106D or 206D) due 12/6/2017 . Schedule E/F: Creditors Who
                       Have Unsecured Claims (Form 106E/F or 206E/F) due 12/6/2017 . Schedule G: Executory
                       Contracts and Unexpired Leases (Form 106G or 206G) due 12/6/2017 . Schedule H: Your
                       Codebtors (Form 106H or 206H) due 12/6/2017 . Schedule I: Your Income (Form 106I)
                       due 12/6/2017 . Schedule J: Your Expenses (Form 106J) due 12/6/2017 . Declaration
                       About an Individual Debtors Schedules (Form 106Dec) due 12/6/2017 . Statement of
                       Financial Affairs (Form 107 or 207) due 12/6/2017 . Chapter 13 Plan (LBR F3015-1) due
                       by 12/6/2017 . Chapter 13 Statement of Your Current Monthly Income and Calculation of
                       Commitment Period (Form 122C-1) Due: 12/6/2017 . Chapter 13 Calculation of Your
                       Disposable Income (Form 122C-2) Due: 12/6/2017 . Cert. of Credit Counseling due by
                       12/6/2017 . Statement of Related Cases (LBR Form F1015-2) due 12/6/2017 . Declaration
                       by Debtors as to Whether Income was Received from an Employer within 60-Days of the
                       Petition Date (LBR Form F1002-1) due by 12/6/2017 . Incomplete Filings due by
                       12/6/2017 . (Fierro, Viridiana) (Entered: 11/22/2017)


 11/22/2017      2     Meeting of Creditors with 341(a) meeting to be held on 12/28/2017 at 09:00 AM at RM 1,
                       915 Wilshire Blvd., 10th Floor, , Los Angeles, CA 90017. Confirmation hearing to be held
                       on 05/13/2019 at 09:00 AM at Crtrm 1368, 255 E Temple St., Los Angeles, CA 90012.
                       Proof of Claim due by 03/28/2018 . (Fierro, Viridiana) (Entered: 11/22/2017)




 11/22/2017      3     Statement About Your Social Security Number (Official Form 121) Filed by Debtor Rodney
                       M Van Pelt . (Fierro, Viridiana) (Entered: 11/22/2017)


 11/22/2017            Receipt of Chapter 13 Filing Fee - $310.00 by 03. Receipt Number 20223517. (admin)
                       (Entered: 11/22/2017)


 11/23/2017            Notice of Debtor's Prior Filings for debtor Rodney M Van Pelt Case Number 17-21718,
                       Chapter 13 filed in California Central Bankruptcy on 09/25/2017 , Dismissed for Failure to
                       File Information on 10/19/2017; Case Number 14-10004, Chapter 13 filed in California
                       Central Bankruptcy on 01/01/2014 , Dismissed for Other Reason on 05/27/2014.(Admin)
                       (Entered: 11/23/2017)


 11/23/2017      4     Request for courtesy Notice of Electronic Filing (NEF) Filed by Smith, Valerie. (Smith,
                       Valerie) (Entered: 11/23/2017)


 11/24/2017      5     BNC Certificate of Notice (RE: related document(s) 2 Meeting (AutoAssign Chapter 13))
                       No. of Notices: 5. Notice Date 11/24/2017. (Admin.) (Entered: 11/24/2017)




 11/24/2017      6




                                          EXHIBIT "6"
https://app.courtdrive.com/filings/cacbke_1809159-2-17-bk-24442-rodney-m-van-pelt                        1/11/2018
2:17-bk-24442 | Rodney M Van Pelt |                                     Page 3 of 3
   Case 2:18-bk-10047-WB Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01 Desc
                              Main Document Page 56 of 61


 Date Filed     #      Docket Text

                       BNC Certificate of Notice (RE: related document(s) 1 Voluntary Petition (Chapter 13) filed
                       by Debtor Rodney M Van Pelt) No. of Notices: 1. Notice Date 11/24/2017. (Admin.)
                       (Entered: 11/24/2017)


 11/24/2017      7     BNC Certificate of Notice (RE: related document(s) 1 Voluntary Petition (Chapter 13) filed
                       by Debtor Rodney M Van Pelt) No. of Notices: 1. Notice Date 11/24/2017. (Admin.)
                       (Entered: 11/24/2017)


 11/30/2017      8     Chapter 13 Trustee's Notice of Requirements with proof of service. (Curry (TR), Nancy)
                       (Entered: 11/30/2017)


 12/05/2017      9     Motion to Extend Deadline to File Schedules or Provide Required Information, and/or Plan
                       (Case Opening Documents) Filed by Debtor Rodney M Van Pelt (Carranza, Shemainee)
                       (Entered: 12/06/2017)


 12/07/2017     10     Order Denying Motion To Extend Deadline to File Schedules or Provide Required
                       Information, and/or Plan (Case Opening Documents) (BNC-PDF) (Related Doc # 9) Signed
                       on 12/7/2017. (Carranza, Shemainee) (Entered: 12/07/2017)


 12/07/2017     11     Notice of Rescheduled §341(a) Meeting of Creditors Filed by Trustee Nancy K Curry (TR).
                       (Curry (TR), Nancy) (Entered: 12/07/2017)


 12/09/2017     12     BNC Certificate of Notice - PDF Document. (RE: related document(s) 10 Order on Motion
                       to Extend Deadline to File Schedules and/or Plan (Case Opening Documents - All
                       Chapters) (BNC-PDF)) No. of Notices: 1. Notice Date 12/09/2017. (Admin.) (Entered:
                       12/09/2017)


 12/11/2017     13     ORDER and notice of dismissal for failure to file schedules, statements, and/or plan -
                       Debtor Dismissed. (BNC) Signed on 12/11/2017 (RE: related document(s) 1 Voluntary
                       Petition (Chapter 13) filed by Debtor Rodney M Van Pelt, 2 Meeting (AutoAssign Chapter
                       13)). (Ly, Lynn) (Entered: 12/11/2017)


 12/13/2017     14     BNC Certificate of Notice (RE: related document(s) 13 ORDER and notice of dismissal for
                       failure to file schedules, statements, and/or plan (Option A or Option B) (BNC)) No. of
                       Notices: 4. Notice Date 12/13/2017. (Admin.) (Entered: 12/13/2017)




                                          EXHIBIT "6"
https://app.courtdrive.com/filings/cacbke_1809159-2-17-bk-24442-rodney-m-van-pelt                       1/11/2018
              ÿ ¡¢£ÿÿÿÿDoc
                                       ÿ²
                                        ¤¥¨¦®23
                                             ÿÿ¤¥
                                                ÿÿÿÿ¦§¨
                                                      ³©´
                                                        ªÿ®01/12/18
                                                             ¯ÿÿ«ÿÿÿ¬ÿµ
                                                                        «¶ÿÿÿÿÿ57
                                                                                   ­®
                                                                                    ±ÿ¯¥of·°ÿ 61ª¡ÿ01/12/18
             Case 2:18-bk-10047-WB                   Filed                          Entered           «¬«ÿ16:56:01
                                                                                                               ± ÿÿÿÿ¤¦
                                                                                                                          Desc
                                        Main    Document                Page


0122ÿ14ÿ5617ÿ1489
5194ÿ59ÿ14518ÿ9
ÿ7
59
ÿ                    ÿÿÿ!"
59
ÿ#
$%&97'ÿ18ÿ81214()
*415ÿ%557ÿ+4,
&5ÿ-9
5ÿ89
ÿ56 -./0123ÿ4%014-0ÿ50ÿ-234051/42
-7ÿ4
                                                                                        -6,ÿ18ÿ5617ÿ17
$48ÿ,4964)                                                                                         7 24ÿ4ÿ81214(
                                                                                                   7 2ÿ  7&&245ÿ769614(ÿ&975&515194ÿ6&5

                                                                                                       8ÿ149ÿ7ÿ98ÿ56ÿ89229614(ÿ5
588112ÿ09
ÿ<=4                                                                                     99ÿ:ÿ:ÿ;;;;
>?@ABCDAÿEFÿGCHÿEI?GJA
OAÿPQÿ?GJRDASAÿPIBÿP??CHPSAÿPQÿRGQQTUDAVÿEWÿSXGÿJPHHTABÿRAGRDAÿPHAÿWTDTIYÿSGYAS@AHÿZAUSGHÿKÿPIBÿAUSGHÿL[\ÿUGS@ÿPHAÿA]CPDD^ÿHAQRGIQTUDAÿWGH
                                                                                                                                            KLMKN
QCRRD^TIYÿ?GHHA?SÿTIWGHJPSTGIVÿEWÿ^GCÿPHAÿJPHHTABÿPIBÿIGSÿWTDTIYÿ_GTISD^\ÿPIBÿ^GCHÿQRGCQAÿTQÿDT`TIYÿXTS@ÿ^GC\ÿTI?DCBAÿTIWGHJPSTGIÿPUGCSÿ^GCH
QRGCQAVÿEWÿ^GCÿPHAÿQARPHPSABÿPIBÿ^GCHÿQRGCQAÿTQÿIGSÿWTDTIYÿXTS@ÿ^GC\ÿBGÿIGSÿTI?DCBAÿTIWGHJPSTGIÿPUGCSÿ^GCHÿQRGCQAVÿEWÿJGHAÿQRP?AÿTQÿIAABAB\
PSSP?@ÿPÿQARPHPSAÿQ@AASÿSGÿS@TQÿWGHJVÿIÿS@AÿSGRÿGWÿPI^ÿPBBTSTGIPDÿRPYAQ\ÿXHTSAÿ^GCHÿIPJAÿPIBÿ?PQAÿICJUAHÿZTWÿaIGXI[VÿIQXAHÿA`AH^ÿ]CAQSTGIV
  PHSÿKF AQ?HTUAÿJRDG^JAIS
 b cTDDÿTIÿ^GCHÿAJRDG^JAIS                                     AUSGHÿK                                  AUSGHÿLÿGHÿIGIdWTDTIYÿQRGCQA
      TIWGHJPSTGIV
      48ÿ9ÿ6eÿ9
ÿ564ÿ94ÿf9' JRDG^JAISÿQSPSCQ 7ÿ.&29                                         hÿ.&29
      556ÿÿ7&
5ÿ&(ÿ6156
      1489
5194ÿ95ÿ151942                              hÿ/95ÿ&29                            7ÿ/95ÿ&29
      &29
7b                        ??CRPSTGI                                                        iÿcÿjj!Eiÿj
      442ÿ&
5g51'ÿ77942'ÿ9
 JRDG^AHkQÿIPJA                                                     >!cÿ !
      728g&29ÿ69
,b
      5&5194ÿÿ142ÿ7545 JRDG^AHkQÿPBBHAQQ
      9
ÿ69,
'ÿ18ÿ15ÿ&&217b
                                            lGXÿDGIYÿAJRDG^ABÿS@AHAm
   PHSÿLF iT`AÿASPTDQÿUGCSÿGIS@D^ÿEI?GJA
QSTJPSAÿJGIS@D^ÿTI?GJAÿPQÿGWÿS@AÿBPSAÿ^GCÿWTDAÿS@TQÿWGHJVÿ48ÿ9ÿ6eÿ495614(ÿ59ÿ
&9
5ÿ89
ÿ4ÿ214'ÿ6
15ÿn<ÿ14ÿ56ÿ7&bÿ442ÿ9
ÿ494g81214(
7&97ÿ4277ÿ9ÿ
ÿ7&
5b
48ÿ9ÿ9
ÿ9
ÿ494g81214(ÿ7&97ÿ6eÿ9
ÿ564ÿ94ÿ&29
'ÿ914ÿ56ÿ1489
5194ÿ89
ÿ22ÿ&29
7ÿ89
ÿ565ÿ&
794ÿ94ÿ56ÿ2147ÿ296bÿ48ÿ9ÿ4
9
ÿ7&'ÿ556ÿÿ7&
5ÿ765ÿ59ÿ5617ÿ89
b
                                                                                                   cGHÿAUSGHÿK cGHÿAUSGHÿLÿGH
                                                                                                                         IGIdWTDTIYÿQRGCQA
 #b !T  QSÿJGIS@D^ÿYHGQQÿXPYAQ\ÿQPDPH^\ÿPIBÿ?GJJTQQTGIQÿ$89
ÿ22ÿ&
922
        51947)bÿÿ48ÿ495ÿ&1ÿ94562'ÿ225ÿ665ÿ56ÿ94562ÿ6(ÿ692ÿb       #b n                 oVoo n                   oVoo
 8b QSTJPSAÿPIBÿDTQSÿJGIS@D^ÿG`AHSTJAÿRP^V                                               8b pn                oVoo pn                  oVoo
 qb jPD?CDPSAÿYHGQQÿEI?GJAVÿÿ2ÿ214ÿ#ÿpÿ214ÿ8b                                         qb n               oVoo          n          oVoo




rsstutvwÿyz{|ÿ}~                                                     ÿÿÿ                                                 vÿ}
                                                            EXHIBIT "7"
           ¸¹º»ÿ½¾¿ÀÁÂÃÁ¿ÄÄÅÆÁÇÈÿÿÿÿDoc
                                    ÿ×¹
                                     ÉÊÍËÓ23
                                          ÿÿ¿ÉÊ
                                             ÿÿÿÿËÌÍ
                                                   ØÎÙ»
                                                     »ÏÿÓÄ01/12/18
                                                          Ô¿ÿÿÐÿÄÿÿÑÿÚ¹
                                                                     Ð¿ÀÛÿ»ÿÿÿÿ½58
                                                                                ÒÓ
                                                                                 ÜÿÔÊof»ÝÕÿ»Å61ÏÆÿÄ01/12/18
           Case 2:18-bk-10047-WB                  Filed                          Entered           ¿ÐÄÑÐ¿Àÿ¿16:56:01
                                                                                                            ½¾Ö¿¾ÄÅÿÿÿÿÉ»ºË
                                                                                                                       Desc
                                     Main    Document                Page

012345ÿ7   89
ÿÿÿ                                                               1ÿ215ÿÿ!" #

                                                                                         $%&ÿ
'()%&ÿ*     $%&ÿ
'()%&ÿ+ÿ%&
                                                                                                          ,%,-./0/,1ÿ23%42'
     5%36ÿ0/,'ÿ7ÿ8'&'                                                                 9: ;           <=<< ;             <=<<
>:   /2)ÿ?00ÿ3?6&%00ÿ@'@4A)/%,2B
     >: ?CDÿ'@/A?&'Dÿ?,@ÿE%A/?0ÿE'A4&/)6ÿ@'@4A)/%,2                                  >: ;             <=<< ;                 <=<<
     >2: ?,@?)%&6ÿA%,)&/(4)/%,2ÿ.%&ÿ&')/&'F',)ÿ30?,2                                   >2: ;             <=<< ;                 <=<<
     >G: %04,)?&6ÿA%,)&/(4)/%,2ÿ.%&ÿ&')/&'F',)ÿ30?,2                                   >G: ;             <=<< ;                 <=<<
     >H: 8'I4/&'@ÿ&'3?6F',)2ÿ%.ÿ&')/&'F',)ÿ.4,@ÿ0%?,2                                   >H: ;             <=<< ;                 <=<<
     >1: J,24&?,A'                                                                      >1: ;             <=<< ;                 <=<<
     >K: 
%F'2)/Aÿ2433%&)ÿ%(0/1?)/%,2                                                   >K: ;             <=<< ;                 <=<<
     >L: M,/%,ÿ@4'2                                                                     >L: ;             <=<< ;                 <=<<
     >N: 9)8'&ÿ@'@4A)/%,2=ÿOP1GQKRS                                                     >N:T ;            <=<< T;                <=<<
U:   @@ÿ)8'ÿ3?6&%00ÿ@'@4A)/%,2=ÿÿVHHÿWQ1ÿ>T>2T>GT>HT>1T>KT>LT>N:                    U: ;              <=<< ;                 <=<<
X:   5?0A40?)'ÿ)%)?0ÿF%,)806ÿ)?Y'-8%F'ÿ3?6=ÿÿO235G3ÿWQ1ÿUÿK54ÿWQ1ÿ9:               X: ;              <=<< ;                 <=<<
Z:   /2)ÿ?00ÿ%)8'&ÿ/,A%F'ÿ&'140?&06ÿ&'A'/['@B
     Z: ')ÿ/,A%F'ÿ.&%Fÿ&',)?0ÿ3&%3'&)6ÿ?,@ÿ.&%Fÿ%3'&?)/,1ÿ?ÿ(42/,'22D
            3&%.'22/%,Dÿ%&ÿ.?&F
            V33GNÿÿ33113ÿK45ÿ1GNÿP54P153RÿHÿ2Q1ÿN4\QLÿL54
            51G1QP3]ÿ45HQ5RÿHÿ1G15Rÿ2Q1ÿ1^P11]ÿHÿ3N1ÿ343W
            43NWRÿ13ÿQG41:                                                         Z: ;             <=<< ;            _D`7a=<<
     Z2: J,)'&'2)ÿ?,@ÿ@/[/@',@2                                                         Z2: ;             <=<< ;                <=<<
     ZG: $?F/06ÿ2433%&)ÿ3?6F',)2ÿ)8?)ÿ6%4Dÿ?ÿ,%,-./0/,1ÿ23%42'Dÿ%&ÿ?ÿ@'3',@',)
            &'140?&06ÿ&'A'/['
            bGWH1ÿWQ4R]ÿP4WÿPP453]ÿGNQWHÿPP453]ÿQ31G1]ÿHQc45G1
            133W113]ÿHÿP54P153Rÿ133W113:                                        ZG: ;            <=<< ;                  <=<<
     ZH: M,'F30%6F',)ÿA%F3',2?)/%,                                                      ZH: ;            <=<< ;                  <=<<
     Z1: E%A/?0ÿE'A4&/)6                                                                Z1: ;          daa=a< ;                  <=<<
     ZK: 9)8'&ÿ1%['&,F',)ÿ?22/2)?,A'ÿ)8?)ÿ6%4ÿ&'140?&06ÿ&'A'/['
            bGWH1ÿGNÿQ3G1ÿHÿ3N1ÿcW1ÿQKÿe4\#ÿ4KÿRÿ4fGNÿQ3G1
            3N3ÿR4ÿ51G1Qc1]ÿGNÿÿK44Hÿ3Pÿ211KQ3ÿH15ÿ3N1ÿOPPW113W
            g35Q3Q4ÿVQ3G1ÿh54L5#ÿ45ÿN4QLÿ2QHQ1:
            OP1GQKRS                                                                    ZK: ;            <=<< ;         <=<<
     ZL: ',2/%,ÿ%&ÿ&')/&'F',)ÿ/,A%F'                                                   ZL: ;            <=<< ;         <=<<
     ZN: 9)8'&ÿF%,)806ÿ/,A%F'=ÿOP1GQKRS MJ                                         ZN:T ;         a<<=<< T;        <=<<
i:   @@ÿ?00ÿ%)8'&ÿ/,A%F'=ÿÿVHHÿWQ1ÿZTZ2TZGTZHTZ1TZKTZLTZN:                          i: ;         *Djaa=a< ;      _D`7a=<<
7k:5?0A40?)'ÿF%,)806ÿ/,A%F'=ÿÿVHHÿWQ1ÿXÿTÿWQ1ÿi:                                   7k:;        *Djaa=a< l; _D`7a=<< m; jDj_n=a<
   VHHÿ3N1ÿ135Q1ÿQÿWQ1ÿ7kÿK45ÿ012345ÿ7ÿHÿ012345ÿoÿ45ÿ4fKQWQLÿP41:
77:E)?)'ÿ?00ÿ%)8'&ÿ&'140?&ÿA%,)&/(4)/%,2ÿ)%ÿ)8'ÿ'C3',2'2ÿ)8?)ÿ6%4ÿ0/2)ÿ/,ÿpqrstuvsÿx=
   bGWH1ÿG435Q23Q4ÿK54ÿÿ55Q1HÿP5315]ÿ1215ÿ4KÿR45ÿN41N4WH]ÿR45ÿH1P1H13]ÿR45ÿ54431]ÿH
   43N15ÿK5Q1Hÿ45ÿ51W3Qc1:
   04ÿ43ÿQGWH1ÿRÿ43ÿW51HRÿQGWH1HÿQÿWQ1ÿof7kÿ45ÿ43ÿ3N3ÿ51ÿ43ÿcQW2W1ÿ34ÿPRÿ1^P11ÿWQ31HÿQÿyz{|}~|ÿ:
   OP1GQKRS                                                                                                                  77: l;           <=<<
7o:@@ÿ)8'ÿ?F%4,)ÿ/,ÿ)8'ÿ0?2)ÿA%04F,ÿ%.ÿ0/,'ÿ*<ÿ)%ÿ)8'ÿ?F%4,)ÿ/,ÿ0/,'ÿ**=ÿÿN1ÿ51W3ÿQÿ3N1ÿG42Q1Hÿ43NWRÿQG41:
   5Q31ÿ3N3ÿ43ÿ4ÿ3N1ÿy~ÿ!ÿyz{|}~|ÿHÿyzÿy~ÿ!ÿ|ÿ|ÿHÿ1W31HÿÿQKÿQ3 7o: ; jDj_n=a<
   PPWQ1
                                                                                                                                  5%F(/,'@
                                                                                                                                  F%,)806ÿ/,A%F'
7:
%ÿ6%4ÿ'C3'A)ÿ?,ÿ/,A&'?2'ÿ%&ÿ@'A&'?2'ÿ/)8/,ÿ)8'ÿ6'?&ÿ?.)'&ÿ6%4ÿ./0'ÿ)8/2ÿ.%&F
           g4:
    1:ÿ^PWQS




ÿ ÿ¡¢£¤                                                 ¥¦§¨©ª«¨ÿ­®ÿ¯°ª±ÿ­²¦°³¨                                               ´µ¶ÿ·
                                                         EXHIBIT "7"
         ¡¢ÿ¤¥¦§¨©ª¨¦««¬­¨®¯ÿÿÿÿDoc
                                 ÿ¾ 
                                  °±´²º23
                                       ÿÿ¦°±
                                          ÿÿÿÿ²³´
                                                ¿µÀ¢
                                                  ¢¶ÿº«01/12/18
                                                       »¦ÿÿ·ÿ«ÿÿ¸ÿÁ 
                                                                  ·¦§Âÿ¢ÿÿÿÿ¤59
                                                                             ¹º
                                                                              ­ÿ»±of¢Ã¼ÿ¢¬61¶­ÿ«01/12/18
       Case 2:18-bk-10047-WB                   Filed                          Entered           ¦·«¸·¦§ÿ¦16:56:01
                                                                                                         ¤¥½¦¥«¬ÿÿÿÿ°¢¡²
                                                                                                                    Desc
                                  Main    Document                Page


0122ÿ14ÿ5617ÿ1489
5194ÿ59ÿ14518ÿ9
ÿ7
59
ÿ            ÿÿÿ!"                                                          #6$ÿ18ÿ5617ÿ17
                                                                                              % &4   ÿ4ÿ81214'
59
ÿ(
-.)97/ÿ18ÿ81214'0
                                                                                              % &ÿ  7))245ÿ769*14'ÿ)975)515194ÿ6)5

                                                                                                  +ÿ,)477ÿ7ÿ98ÿ56ÿ89229*14'ÿ5
1415ÿ.557ÿ24$
)5ÿ#9
5ÿ89
ÿ56 #3456&7ÿ8.568#5ÿ90ÿ#&7809648&                            ::ÿ;ÿÿ;ÿ<<<<
#7ÿ4

-88ÿ$49*40

988112ÿ09
ÿ=>?
@A  BCDEFCÿGHÿIEJÿKLCMNCN
SCÿTNÿAIULFCVCÿTMDÿTAAEJTVCÿTNÿLINNWXFCYÿZ[ÿV\IÿUTJJWCDÿLCILFCÿTJCÿ[WFWM]ÿVI]CVBCJ^ÿXIVBÿTJCÿC_ETFF`ÿJCNLIMNWXFCÿ[IJÿNELLF`WM]ÿAIJJCAV
                                                                                                                                      OPQOR
WM[IJUTVWIMYÿZ[ÿUIJCÿNLTACÿWNÿMCCDCD^ÿTVVTABÿTMIVBCJÿNBCCVÿVIÿVBWNÿ[IJUYÿMÿVBCÿVILÿI[ÿTM`ÿTDDWVWIMTFÿLT]CN^ÿ\JWVCÿ`IEJÿMTUCÿTMDÿATNC
MEUXCJÿaW[ÿbMI\McYÿMN\CJÿCdCJ`ÿ_ECNVWIMY
e
5ÿ CNAJWXCÿIEJÿfIENCBIFD
g ZNÿVBWNÿTÿhIWMVÿATNCi
     j%ÿÿ<
         49gÿk9ÿ59ÿ214ÿ(g
           7gÿICNÿCXVIJÿPÿFWdCÿWMÿTÿNCLTJTVCÿBIENCBIFDi
             %ÿ49
             %ÿ<7gÿ59
ÿ(ÿ75ÿ812ÿ988112ÿ09
ÿ=>?l(/ÿmnopqrprÿtuvÿwpoxvxypÿzu{rp|u}~ÿ98ÿ59
ÿ(g
(g Iÿ`IEÿBTdCÿDCLCMDCMVNi %ÿ49
     9ÿ495ÿ2175ÿ59
ÿÿ4 jÿ<7g 01         22ÿ95ÿ5617ÿ1489
5194ÿ89
 CLCMDCMVNÿJCFTVWIMNBWLÿVI CLCMDCMVN      ICNÿDCLCMDCMV
     59
ÿ(g                                6ÿ)445gggggggggggggg CXVIJÿOÿIJÿCXVIJÿP         T]C              FWdCÿ\WVBÿ`IEi
      9ÿ495ÿ755ÿ56                                                                                                   %ÿ49
      )4457ÿ47g                                                     @                                         j  ÿ<7
                                                                                                                         %ÿ49
                                                                            f"                    O               j  ÿ<7
                                                                                                                         %ÿ49
                                                                                                                         %ÿ<7
                                                                                                                         %ÿ49
                                                                                                                         %ÿ<7
      CKLCMNCNÿI[ÿLCILFCÿIVBCJÿVBTM j
+g Iÿ`IEJÿCKLCMNCNÿWMAFEDC                  ÿ49
      `IEJNCF[ÿTMDÿ`IEJÿDCLCMDCMVNi %ÿ<7
e
5ÿ( NVWUTVCÿIEJÿM]IWM]ÿIMVBF`ÿKLCMNCN
NVWUTVCÿ`IEJÿCKLCMNCNÿTNÿI[ÿ`IEJÿXTMbJELVA`ÿ[WFWM]ÿDTVCÿEMFCNNÿ`IEÿTJCÿENWM]ÿVBWNÿ[IJUÿTNÿTÿNELLFCUCMVÿWMÿTÿBTLVCJÿOÿATNCÿVIÿJCLIJV
CKLCMNCNÿTNÿI[ÿTÿDTVCÿT[VCJÿVBCÿXTMbJELVA`ÿWNÿ[WFCDYÿZ[ÿVBWNÿWNÿTÿNELLFCUCMVTFÿÿ^ÿABCAbÿVBCÿXIKÿTVÿVBCÿVILÿI[ÿVBCÿ[IJUÿTMDÿ[WFFÿWMÿVBC
TLLFWATXFCÿDTVCY
ZMAFEDCÿCKLCMNCNÿLTWDÿ[IJÿ\WVBÿMIMATNBÿ]IdCJMUCMVÿTNNWNVTMACÿW[ÿ`IEÿbMI\
VBCÿdTFECÿI[ÿNEABÿTNNWNVTMACÿTMDÿBTdCÿWMAFEDCDÿWVÿIMÿÿÿ                                 IEJÿCKLCMNCN
a[[WAWTFÿIJUÿOZYc
g "BCÿJCMVTFÿIJÿBIUCÿI\MCJNBWLÿCKLCMNCNÿ[IJÿ`IEJÿJCNWDCMACYÿ842ÿ81
75ÿ9
5''           g                           O^Y
   )457ÿ4ÿ4ÿ
45ÿ89
ÿ56ÿ'
94ÿ9
ÿ295g
   Z[ÿMIVÿWMAFEDCDÿWMÿFWMCÿH
   g 62ÿ755ÿ5,7                                                                     g                               Y
   g e
9)
5/ÿ699*4
7/ÿ9
ÿ
45
7ÿ147
4                                          g                               Y
   g 9ÿ14544/ÿ
)1
/ÿ4ÿ)$)ÿ,)477                                         g                               Y
   g 99*4
7ÿ77915194ÿ9
ÿ949141ÿ7                                           g                               Y
g DDWVWIMTFÿUIJV]T]CÿLT`UCMVNÿ[IJÿ`IEJÿJCNWDCMAC^ÿ76ÿ7ÿ69ÿ15ÿ2947                 g                               Y

988112ÿ09
ÿ=>?ÿ                                       @ABCDEFCÿGHÿIEJÿKLCMNCNÿ                                                     )'ÿ
                                                        EXHIBIT "8"
        ÿ¡¢£¤¥¦§¥£¨¨©ª¥«¬ÿÿÿÿDoc
                                 ÿ»
                                  ­®±¯·23
                                       ÿÿ£­®
                                          ÿÿÿÿ¯°±
                                                ¼²½
                                                  ³ÿ·¨01/12/18
                                                       ¸£ÿÿ´ÿ¨ÿÿµÿ¾
                                                                  ´£¤¿ÿÿÿÿÿ¡60
                                                                             ¶·
                                                                              ¤ÿ¸®ofÀ¹ÿ©61³ªÿ¨01/12/18
       Case 2:18-bk-10047-WB                   Filed                          Entered           £´¨µ´£¤ÿ£16:56:01
                                                                                                         ¡¢º£¢¨©ÿÿÿÿ­¯
                                                                                                                    Desc
                                  Main    Document                Page

012345ÿ7 89
ÿÿÿ                                                              1ÿ215ÿÿ4
!" #$%&%$%'()
    !" *+1,35,3-.ÿ/13.ÿ35+ÿ0                                                       !"1                                                  2322
    !2" 4315.ÿ115.ÿ05201ÿ,4++1,34                                                     !2"1                                                  2322
    !," 51+16/41.ÿ,1++ÿ6/41.ÿ731513.ÿ31++31.ÿ8ÿ,2+1ÿ159,1                       !,"1                                                  2322
    !8" :3/15"ÿ;61,-<                                                                      !8"1                                                  2322
=" >??@ÿAB@ÿC?D('E''F%BGÿ(DFF&%'(                                                             ="1                                                H22322
I" JC%&@KAL'ÿAB@ÿKC%&@L'BM(ÿ'@DKA$%?BÿK?($(                                                   I"1                                                 N2322
O" J&?$C%BGPÿ&ADB@LQPÿAB@ÿ@LQÿK&'AB%BG                                                        O"1                                                R22322
7S"'L(?BA&ÿKAL'ÿFL?@DK$(ÿAB@ÿ('LT%K'(                                                       7S"1                                                U22322
77"'@%KA&ÿAB@ÿ@'B$A&ÿ'VF'B('(                                                               77"1                                                W22322
7X"LAB(F?L$A$%?B3ÿ7,+81ÿ0.ÿ31,1.ÿ2ÿ45ÿ35ÿ51"                              7X"1                                                Y22322
    04ÿ43ÿ,+81ÿ,5ÿ6-13"
7Z"B$'L$A%B['B$PÿK&D\(PÿL'KL'A$%?BPÿB'](FAF'L(Pÿ[AGA^%B'(PÿAB@ÿ\??E(                        7Z"1                                                U22322
7_"JCAL%$A\&'ÿK?B$L%\D$%?B(ÿAB@ÿL'&%G%?D(ÿ@?BA$%?B(                                          7_"1                                                  2322
7`"aB(DLABK'3
    04ÿ43ÿ,+81ÿ5,1ÿ818,318ÿ54ÿ-45ÿ6-ÿ45ÿ,+818ÿÿ+1ÿ_ÿ45ÿXS"
    7`"b1ÿ5,1                                                                      7`"1                                                   2322
    7`2"c1+3/ÿ5,1                                                                    7`2"1                                                   2322
    7`," d1/,+1ÿ5,1                                                                  7`,"1                                                   2322
    7`8":3/15ÿ5,1"ÿ;61,-<                                                           7`8"1                                                   2322
7!"AV'(3ÿ04ÿ43ÿ,+81ÿ3e1ÿ818,318ÿ54ÿ-45ÿ6-ÿ45ÿ,+818ÿÿ+1ÿ_ÿ45ÿXS"
    ;61,-<                                                                                 7!"1                                                   2322
7="aB($A&&['B$ÿ?Lÿ&'A('ÿFAQ['B$()
    7="5ÿ6-13ÿ45ÿd1/,+1ÿ7                                                          7="1                                                   2322
    7=2"5ÿ6-13ÿ45ÿd1/,+1ÿX                                                          7=2"1                                                   2322
    7=," :3/15"ÿ;61,-<                                                                    7=,"1                                                   2322
    7=8":3/15"ÿ;61,-<                                                                     7=8"1                                                   2322
7I"?DLÿFAQ['B$(ÿ?fÿA&%[?BQPÿ[A%B$'BABK'PÿAB@ÿ(DFF?L$ÿ$CA$ÿQ?Dÿ@%@ÿB?$ÿL'F?L$ÿA( 7I"1                                                               2322
    @'@DK$'@ÿfL?[ÿQ?DLÿFAQÿ?Bÿ&%B'ÿNPÿghijklmjÿopÿqrlsÿothrujÿv9ff%K%A&ÿ>?L[ÿU2Haw3
7O"9$C'LÿFAQ['B$(ÿQ?Dÿ[AE'ÿ$?ÿ(DFF?L$ÿ?$C'L(ÿ]C?ÿ@?ÿB?$ÿ&%T'ÿ]%$CÿQ?D3                           1                                                  2322
    ;61,-<                                                                                 7O"
XS"9$C'LÿL'A&ÿFL?F'L$Qÿ'VF'B('(ÿB?$ÿ%BK&D@'@ÿ%Bÿ&%B'(ÿYÿ?LÿNÿ?fÿ$C%(ÿf?L[ÿ?Lÿ?Bÿghijklmjÿoxÿqrlsÿothruj3
    XS"y453001ÿ4ÿ43/15ÿ6546153-                                                         XS"1                                                2322
    XS2"z1+ÿ1331ÿ3e1                                                                   XS2"1                                                2322
    XS," {546153-.ÿ/41415|.ÿ45ÿ51315|ÿ5,1                                       XS,"1                                                2322
    XS8"y31,1.ÿ5165.ÿ8ÿ6116ÿ1e611                                            XS8"1                                                2322
    XS1"c41415|ÿ4,34ÿ45ÿ,484ÿ81                                         XS1"1                                                2322
X7"9$C'L)ÿ;61,-<                                                                           X7"}1                                               2322
XX"JA&KD&A$'ÿQ?DLÿ[?B$C&Qÿ'VF'B('(
    XX"ÿ~88ÿ+1ÿ_ÿ3/540/ÿX7"                                                                    1                                      WPWNY322
    XX2"ÿ46-ÿ+1ÿXXÿ43/+-ÿ1e611ÿ45ÿ012345ÿX.ÿÿ-.ÿ54ÿ:,+ÿ45ÿ7S!X             1
    XX,"ÿ~88ÿ+1ÿXXÿ8ÿXX2"ÿÿ5/1ÿ51+3ÿÿ-45ÿ43/+-ÿ1e611"                                1                                      WPWNY322
XZ"JA&KD&A$'ÿQ?DLÿ[?B$C&QÿB'$ÿ%BK?['3
    XZ"46-ÿ+1ÿ7Xÿÿÿÿÿ54ÿ;,/18+1ÿ7"                        XZ"1                                            NPNWH32
    XZ2"46-ÿ-45ÿ43/+-ÿ1e611ÿ54ÿ+1ÿXX,ÿ2491"                                     XZ2"1                                           WPWNY322
    XZ," ;235,3ÿ-45ÿ43/+-ÿ1e611ÿ54ÿ-45ÿ43/+-ÿ,41"                           XZ,"1                                            RPUR32
           5/1ÿ51+3ÿ-45ÿÿÿ"
X_"
?ÿQ?Dÿ'VF'K$ÿABÿ%BKL'A('ÿ?Lÿ@'KL'A('ÿ%BÿQ?DLÿ'VF'B('(ÿ]%$C%Bÿ$C'ÿQ'ALÿAf$'LÿQ?Dÿf%&'ÿ$C%(ÿf?L[
     45ÿ1e6+1.ÿ84ÿ-4ÿ1e61,3ÿ34ÿ/ÿ6-0ÿ45ÿ-45ÿ,5ÿ+4ÿ3/ÿ3/1ÿ-15ÿ45ÿ84ÿ-4ÿ1e61,3ÿ-45ÿ453001ÿ6-13ÿ34ÿ,511ÿ45ÿ81,511ÿ21,1ÿ4ÿ
     48,34ÿ34ÿ3/1ÿ315ÿ4ÿ-45ÿ453001
     ÿÿ1
         4"
           "           *e6+ÿ/151<




:,+ÿ45ÿ7S!ÿ                                               KC'@D&'ÿ)ÿ?DLÿVF'B('(ÿ                                                                     601ÿX
                                                                EXHIBIT "8"
        Case 2:18-bk-10047-WB                      Doc 23 Filed 01/12/18 Entered 01/12/18 16:56:01                                      Desc
                                                   Main Document    Page 61 of 61



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
30 Corporate Park, Suite 450
Irvine, CA 92606

A true and correct copy of the foregoing document entitled (specify): OPPOSITION TO DEBTOR’S MOTION FOR
ORDER IMPOSING A STAY OR CONTINUNING THE AUTOMATIC STAY AND DECLARATION IN SUPPORT OF
SECURED CREDITOR’S OPPOSITION TO DEBTOR’S MOTION FOR ORDER IMPOSING A STAY OR CONTINUNING
THE AUTOMATIC STAY will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 12, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                           Laleh Ensafi, Attorney                                   lensafi@yahoo.com
                           Nancy K Curry (TR), Trustee                              ecfnc@trustee13.com
                           United States Trustee (LA)                               ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 12, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                            PRESIDING JUDGE
 Rodney M Van Pelt                                 United States Bankruptcy Court
 3126 Silva St                                     Chambers of Honorable Julia W. Brand
 Lakewood, CA 90712                                255 E. Temple Street, Suite 1382
                                                   Los Angeles, CA 90012-3332

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 12, 2018                  Michele Dapello                                              /s/ Michele Dapello
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
